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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                            www.flsb.uscourts.gov



In re: Mary B. Nimeth                                     Case No: 13-29175
                                                          Chapter 13



              Debtor             /


                                OBJECTION TO PROOF OF CLAIM 1-1

This objection seeks either to disallow or reduce the amount or change the priority status of the

claim filed by you or on your behalf. Please read this objection carefully to identify which claim is

objected to and what disposition of your claim is recommended.

Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1 the undersigned objects to the Proof of

claim filed by Creditor Federal National Mortgage Association (Fannie Mae), which is claim number

1-1. The grounds for this objection are as follows:

1. - Fannie Mae has not established that they are a real party of interest and does not have standing

to asset a claim as secured creditor. The assignor of the alleged assignment of Mortgage was not an

employee of JPMorgan Chase, Fannie Mae or any other banking entity; rather she was an employee

of a company called Nationwide Title Clearing. Crystal Moore was a “Robo-Signor” who executed

thousands upon thousands of assignments of Mortgage for multiple banking institutions without any

legal right to do so and without regard to the accurse of what she was signing. Furthermore, the lost

note affidavit filed with the Proof of Claim makes reference to business records of two different law

firms and such references are in admissible say under the federal rules of evidence.

 2. - The payment history attached to the Proof of Claim contains numerous charges with are

outrageous and grossly excessive for a property of this value.
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                                 CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that a true and correct copy of the Objection to Proof of Claim 1-1 was
served by U.S, first class Mail, upon the parties listed below on July 29, 2014.


                                          /s/ __________________________
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